                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                        Docket No. 4:19-cv-40050-TSH

JOHN DOE,                            )
                                     )
       Plaintiff                     )
                                     )
v.                                   )
                                     )
CLARK UNIVERSITY, DAVID P. ANGEL,    )
Ph.D., NADJA JOHNSON, Ph.D., LYNN S. )
LEVEY, ADAM J. KEYES, HOLLY DOLAN, )
EVETTE WALTERS, JEFFREY McMASTER, )
CHERILYN BONIN, JANE SMITH, and      )
DAVIS BAIRD, PROVOST.                )
                                     )
       Defendants                    )

                         STIPULATION OF PARTIAL DISMISSAL

       NOW COME Plaintiff and Defendants, and pursuant to Fed. Rule Civ. P 41(a)(1)(ii), and

hereby stipulate that the above-entitled action be dismissed with respect to all claims against the

Defendant Jane Smith only, with prejudice, without costs, and waiving all rights of appeal.

                                      Respectfully submitted,

The Defendant, JANE SMITH                             The Plaintiff, JOHN DOE
By her attorneys,                                     By his attorneys,

/s/ Alexandra R. Power                                /s/ Robert A. Scott
Alexandra R. Power, BBO: #676085                      Hector E. Pineiro, BBO: #555315
Hamel, Marcin, Dunn, Reardon &                        Robert A. Scott, BBO: #648740
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The Defendant, CLARK UNIVERSITY
By its attorneys,

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DATED: January 6, 2022




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